       Case 4:07-cv-05944-JST Document 5142 Filed 04/12/17 Page 1 of 3


 1   Mario N. Alioto (56433)
     Joseph M. Patane (72202)
 2   Lauren C. Capurro (241151)
     TRUMP, ALIOTO, TRUMP & PRESCOTT LLP
 3   2280 Union Street
     San Francisco, CA 94123
 4   Telephone: (415) 563-7200
     Facsimile: (415) 346-0679
 5   malioto@tatp.com
     laurenrussell@tatp.com
 6
     Lead Counsel for Indirect Purchaser Plaintiffs
 7   And Counsel for Trump, Alioto, Trump & Prescott, LLP

 8

 9
                            UNITED STATES DISTRICT COURT
10
                         NORTHERN DISTRICT OF CALIFORNIA
11
                                 SAN FRANCISCO DIVISION
12

13   IN RE: CATHODE RAY TUBE (CRT)               Master No.: 3:07-cv-05944-JST
     ANTITRUST LITIGATION                        MDL No. 1917
14
     This Document Relates to:                   NOTICE OF CROSS-APPEAL
15
     All Indirect Purchaser Actions              Judge: The Honorable Jon S. Tigar
16

17

18

19
20

21

22

23

24

25

26

27

28


                                   NOTICE OF CROSS-APPEAL
                           MASTER FILE NO. CV-07-5944-JST, MDL NO. 1917
       Case 4:07-cv-05944-JST Document 5142 Filed 04/12/17 Page 2 of 3


 1                                 NOTICE OF CROSS-APPEAL

 2          Notice is hereby given that Lead Counsel for the Indirect Purchaser Plaintiffs, Mario

 3   N. Alioto, and Trump, Alioto, Trump & Prescott, LLP appeal to the United States Court of

 4   Appeals for the Ninth Circuit from the Order Re: Allocation of IPP Attorneys’ Fee Award

 5   (ECF No. 5122) entered in this action on February 28, 2017.

 6          Cooper & Kirkham P.C.’s notice of appeal from the same February 28, 2017 Order

 7   was filed on March 30, 2017 (ECF No. 5132). This notice of cross-appeal is timely pursuant

 8   to Fed. Rule App. Proc. 4(a)(3).

 9          Attached as Exhibit A is the Representation Statement pursuant to Fed. R. App.

10   Proc. 12(b) and Ninth Circuit Rule 3-2.

11

12   Dated: April 12, 2017                 By:      /s/ Mario N. Alioto
                                                   Mario N. Alioto (56433)
13                                                 malioto@tatp.com
                                                   Joseph M. Patane (72202)
14                                                 jpatane@tatp.com
                                                   Lauren C. Capurro (241151)
15                                                 laurenrussell@tatp.com
                                                   TRUMP, ALIOTO, TRUMP & PRESCOTT
16                                                 LLP
                                                   2280 Union Street
17                                                 San Francisco, CA 94123
                                                   Telephone: 415-563-7200
18                                                 Facsimile: 415-346-0679

19                                                 Lead Counsel for Indirect Purchaser
                                                   Plaintiffs and Counsel for Trump, Alioto,
20                                                 Trump & Prescott, LLP
21

22

23

24

25

26

27

28


                                                   1
                                     NOTICE OF CROSS-APPEAL
                             MASTER FILE NO. CV-07-5944-JST, MDL NO. 1917
       Case 4:07-cv-05944-JST Document 5142 Filed 04/12/17 Page 3 of 3


 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that a true copy of the foregoing NOTICE OF CROSS-APPEAL
 3   and REPRESENTATION STATEMENT was filed via CM/ECF on April 12, 2017 and has
 4   been served on all counsel of record via transmission of Notices of Electronic Filing

 5   generated by CM/ECF.

 6                                                /s/ Mario N. Alioto

 7

 8

 9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27

28


                                                  2
                                   NOTICE OF CROSS-APPEAL
                           MASTER FILE NO. CV-07-5944-JST, MDL NO. 1917
